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                                                                                U.S. DJSTRJCT COURT
                                                                            NORTHERN DJSTRICT OF TEXAS
                          IN THE UNITED STATES DISTRICT COU T                        FILED
                          FOR THE NORTHERN DISTRICT OF TE
                                   AMARILLO DIVISION        S                    ' APR - 8   2022   j
                                                                            CLERK, U.S. DISTRrcr COURT
THE STATE OF TEXAS et al.,                          §                         Br-r,t7-~~---
                                                                                     11ty
                                                    §
         Plaintiffs,                                §
                                                    §
V.                                                  §          2:2 l-CV-079-Z
                                                    §
JANET YELLEN et al.,                                §
                                                    §
         Defendants.                                §

                                        FINAL JUDGMENT

         On April 8, 2020, the Court issued an Opinion and Order in this cause. Based on that

document, the Court renders judgment as follows :

         ■   The Court GRANTS IN PART Plaintiffs' Motion for Partial Summary Judgment

             (ECF No. 27) and PERMANENTLY ENJOINS Defendants and any other agency or

             employee of the United States from enforcing 42 U.S.C. § 802(c)(2)(A) against

             Plaintiffs or recouping any funds from Plaintiffs for a violation thereof;

         •   The Court DENIES Defendants' Motion for Summary Judgment (ECF No. 44);

         ■   The Court DISMISSES WITHOUT PREJUDICE Count IV of Plaintiffs' Complaint

             as moot;

         •   To the extent allowed by law, Plaintiffs shall recover attorney's fees and related non-

             taxable expenses as the Court may hereafter award on a timely motion. See FED. R.

             Crv. P. 54(d); and

         •   The Court DENIES any relief sought by parties and not expressly granted in this

             Judgment.
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    Judgment is rendered accordingly.

    April   6, 2022

                                              EW J. KACSMARYK
                                             D STATES DISTRICT JUDGE




                                        2
